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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

MARYLAND CHAPTER OF THE SIERRA
CLUB, et al.,

                              Plaintiffs,
       v.                                          Civil Action No. DKC 22-2597

FEDERAL HIGHWAY
ADMINISTRATION, et al.,


                              Defendants.

NORTHERN VIRGINIA CITIZENS
ASSOCIATION,

                              Plaintiff,           Civil Action No. DKC 22-3336
v.

FEDERAL HIGHWAY
ADMINISTRATION, et al.,

                               Defendants.


              PLAINTIFFS’ JOINT MOTION FOR SUMMARY JUDGMENT
                          AND REQUEST FOR HEARING

       Pursuant to Federal Rule of Civil Procedure 56, Plaintiffs Maryland Chapter of the Sierra

Club, Friends of Moses Hall, National Trust for Historic Preservation, and Natural Resources

Defense Council (Case No. 22-cv-2597) and Northern Virginia Citizens Association (Case No.

22-cv-3336) move for summary judgment on all claims in their complaints. There are no genuine

issues of material fact and Plaintiffs are entitled to judgment as a matter of law. Defendants

violated the National Environmental Policy Act, Section 106 of the National Historic

Preservation Act, and Section 4(f) of the Department of Transportation Act when issuing their

Final Environmental Impact Statement, Final Section 4(f) Determination, and Record of
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Decision for their plans to widen and add toll lanes to an approximately fifteen-mile stretch of I-

495 and I-270, from McLean, Virginia to Gaithersburg, Maryland. The Court should vacate

those unlawful decisions under the Administrative Procedure Act. 5 U.S.C. § 706(2)(A).

       In support of their motion, Plaintiffs submit (1) a Joint Memorandum in Support; (2) the

Declarations of Diane E. Baxter, Debra Butler, Christopher Ecker, Thompson M. Mayes, Robert

Soreng, Charlotte Troup Leighton, Gina Trujillo, Josh Tulkin, and Ivan Zama; (3) an Addendum

of Cited Statutes and Regulations; and (4) a Proposed Order. Plaintiffs’ joint motion also relies

on citations to the Administrative Record compiled by Defendants. Pursuant to the Court’s

scheduling order, see ECF No. 44, the Parties will file a Joint Appendix containing all cited

Administrative Record material following the submission of Defendants’ final briefs.

       Pursuant to Local Rule 105.6, Plaintiffs request a hearing on this motion.



Respectfully Submitted,

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